Case 2:05-cr-20101-.]PI\/| Document 30 Filed 08/29/05 Page 1 of 3 Page|D 39

 

IN THE UNITED sTATEs DISTRICT coURT "533"-~- _....._.D.c.
FOR THE wEsTERN DISTRICT OF TENNEssEE
wEsTERN DIvIsIoN USAUG 29 AH 6:|,3
THOM»*\SMCK)ULD
CLERK. U.S. DSSYR%CT CGJRT
UNITED sTATEs oF AMERICA W/DOHN,MEWHS
Plaintiff,
v. criminal NO.U 5-30[0/1\41
(30-Day Continuance)
f

pr/|LI/A \~cw r~'/ Tj_nomc§

 

 

 

VV~_/V`_r`_rvv~_/`_rvv~_/V\_rvvv~_/v

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. September 23, 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

Th[s document entered nn the docket S`r‘.c\z' ‘n compliance
wnh Rule 55 and/or az(b) FRch on § ' 50 123

Case 2:05-cr-20101-.]PI\/| Document 30 Filed 08/29/05 Page 2 of 3 Page|D 40

so oRDERED this 26ch day of August, 2005.

@, wl f<:l§l

-'Jo PHIPPS MccALLA
TED sTATEs DIsTRIcT JUDGE

§1;1»/§/»/<

Assistant United States Attorney

Counsel for Defendant(s)

 

 

 

 

   

UNITED sTATE DRISTIC COUR - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20101 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Sheila D. Brown

LAW OFFICE OF SHEILA D. BROWN
9160 Highway 64

Ste. 12

Lakeland7 TN 38002

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

